                                                                  Case 1:16-bk-12255-GM                 Doc     Filed 09/26/14 Entered 09/26/14 18:12:57           Desc Main
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                                                                   1   Richard M. Pachulski (SBN 90073)
                                                                       Jeffrey W. Dulberg (SBN 181200)
                                                                   2   Jason S. Pomerantz (SBN 157216)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                                jdulberg@pszjlaw.com
                                                                   6            jspomerantz@pszjlaw.com

                                                                   7   Attorneys for Chapter 7 Trustee

                                                                   8
                                                                                                          UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                             SAN FERNANDO VALLEY DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                      Chapter 7
                                                                  12
                                                                       KSL MEDIA, INC., T.V. 10'S, LLC, and                        Case No.: 1:13-bk-15929-AA
                                        LOS ANGELES, CALIFORNIA




                                                                  13   FULCRUM 5, INC.,
                                           ATTORNEYS AT LAW




                                                                                                                                   Jointly Administered with Case Nos.:
                                                                  14                                 Debtors.                      1:13-bk-15930-AA and 1:13-bk-15931-AA

                                                                  15   _________________________________                           NOTICE OF AMENDED HEARING DATE
                                                                                                                                   AND/OR TIME ON OMNIBUS MOTION FOR
                                                                  16          Affects KSL Media, Inc.                              ORDER DISALLOWING CLAIMS WHICH
                                                                              Affects T.V. 10’s, LLC                               HAVE BEEN AMENDED AND SUPERSEDED
                                                                  17                                                               BY SUBSEQUENTLY FILED PROOFS OF
                                                                              Affects Fulcrum 5, Inc.                              CLAIMS
                                                                  18          Affects All Debtors
                                                                                                                                   This Motion Affects The Following Claimants:
                                                                  19
                                                                                                                                   Black Entertainment Television LLC, Claim 123
                                                                  20                                                               (Amended by Claim 504)
                                                                                                                                   Chattanooga Times Free Press, Claim 287
                                                                  21                                                               (Amended by Claim 444)
                                                                                                                                   Entercom Communications Corp., Claim 364
                                                                  22                                                               (Amended by Claim 510)
                                                                                                                                   Google, Inc., Claim 407 (Amended by Claim 517)
                                                                  23                                                               Guitar Center, Inc., Claim 167 (Amended by
                                                                                                                                   Claim 536)
                                                                  24                                                               Hearst Digital Media, Claim F131 (Amended by
                                                                                                                                   Claim F49)
                                                                  25                                                               Hearst Digital Media, Claim F44 (Amended by
                                                                                                                                   Claim F49)
                                                                  26                                                               KABC-TV Los Angeles, Claim 129 (Amended by
                                                                                                                                   Claim 339)
                                                                  27                                                               Metro Corp d/b/a Metrocorp, Claim 25 (Amended
                                                                                                                                   by Claims 318, 386)
                                                                  28
                                                                       1
                                                                           The letter “F” represents a claim filed in Fulcrum 5, Inc. case.

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                                                                   1                                                             MTV Networks, a division of Viacom Int’l, Inc.,
                                                                                                                                 Claim 384 (Amended by Claim 440)
                                                                   2                                                             Chattanooga Times Free Press, Claim 166
                                                                                                                                 (Amended by Claim 444)
                                                                   3                                                             Valassis, Claim 239 (Amended by Claim 500)
                                                                                                                                 Viacom Media Networks, Claim 92 (Amended by
                                                                   4                                                             Claim 440)
                                                                                                                                 Viacom Media Networks, Claim TV06 (Amended
                                                                   5                                                             by Claim TV 23, TV182)
                                                                                                                                 Wilson Media Group, Inc., Claim 256 (Amended by
                                                                   6                                                             Claim 503)

                                                                   7

                                                                   8                                                             Date:           October 29, 2014
                                                                                                                                 New Time:       11:00 a.m.
                                                                   9                                                             Courtroom:      303
                                                                                                                                 Place:          21041 Burbank Blvd.
                                                                  10                                                                             Woodland Hills, CA 91367

                                                                  11                                                             Judge:          Hon. Alan M. Ahart
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                  PLEASE TAKE NOTICE that the Court has moved the time of the Omnibus Motion of
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Trustee for Order Disallowing Amended and Superseded Claims [Docket No. 752] (the “Motion”)
                                                                  14
                                                                       from 10:00 a.m. to 11:00 am as set forth above.
                                                                  15

                                                                  16   Dated:       September 26, 2014                         PACHULSKI STANG ZIEHL & JONES LLP

                                                                  17
                                                                                                                               By       /s/ Jeffrey W. Dulberg
                                                                  18                                                                    Richard M. Pachulski
                                                                                                                                        Jeffrey W. Dulberg
                                                                  19                                                                    Jason S. Pomerantz
                                                                  20                                                                    Counsel for Chapter 7 Trustee David K.
                                                                                                                                        Gottlieb
                                                                  21

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                                                                       2
                                                                           The letters “TV” represent a claim filed in TV 10’s, LLC, case.

                                                                       DOCS_LA:281815.1 47516/003                                   2
      Case 1:16-bk-12255-GM                    Doc        Filed 09/26/14           Entered 09/26/14 18:12:57                    Desc Main
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                                             Document   OF3DOCUMENT
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I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): NOTICE OF AMENDED HEARING DATE AND/OR
TIME FOR MOTION FOR ORDER DISALLOWING CLAIMS WHICH HAVE BEEN AMENDED AND SUPERSEDED BY
SUBSEQUENTLY FILED PROOFS OF CLAIMS will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 26, 2014, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) September 26, 2014, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                     SEE ATTACHED SERVICE LIST

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 26, 2014, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.


VIA HAND DELIVERY                                                           By Email
Honorable Alan M. Ahart                                                     Attorneys for CoreMedia
United States Bankruptcy Court                                              Lisa Bonsall
San Fernando Valley Division                                                LBonsall@McCarter.com
21041 Burbank Blvd., Suite 342
Woodland Hills, CA 91367-6606



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 26, 2014                               Megan Wertz                                 /s/ Megan Wertz
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:281819.1 47516/003
        Case 1:16-bk-12255-GM                  Doc        Filed 09/26/14           Entered 09/26/14 18:12:57                    Desc Main
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
                                   Document     Page 4FILING
                                                       of 7 (NEF):
Mailing Information for Case 1:13-bk-15929-AA
    Allison R Axenrod allison@claimsrecoveryllc.com                                  Jeffrey A Krieger jkrieger@ggfirm.com,
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         jreinglass@ggfirm.com;kwoodson@ggfirm.com;sgaeta                              gglusker.com;jking@greenbergglusker.com
         @ggfirm.com;calendar@ggfirm.com                                              Rodger M Landau rlandau@lgbfirm.com,
        Michael V Blumenthal                                                          marizaga@lgbfirm.com;kalandy@lgbfirm.com;levans@l
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         alisa.brenes@tklaw.com                                                       Mary D Lane mal@msk.com, mec@msk.com
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        Vincent M Coscino vcoscino@allenmatkins.com,                                  smcfarland@pszjlaw.com
         jaallen@allenmatkins.com                                                     Neeta Menon nmenon@btlaw.com
        Natalie B. Daghbandan                                                        Vahid Naziri vnaziri@anhlegal.com,
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        Scott F Gautier SFGautier@rkmc.com                                           Jonathon Shenson jshenson@shensonlawgroup.com
        Fredric Glass fglass@fairharborcapital.com                                   Alan R Smith mail@asmithlaw.com
        Paul R. Glassman pglassman@sycr.com                                          Tiffany Strelow Cobb tscobb@vorys.com
        Matthew A Gold courts@argopartners.net                                       Robert Tannor rtannor@creditorliquidity.com
        Eric D Goldberg egoldberg@gordonsilver.com                                   United States Trustee (SV)
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        Ivan L Kallick ikallick@manatt.com,                                          Roye Zur rzur@lgbfirm.com,
         ihernandez@manatt.com                                                         kalandy@lgbfirm.com;marizaga@lgbfirm.com;levans@l
                                                                                       gbfirm.com;msutton@lgbfirm.com

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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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      Case 1:16-bk-12255-GM                    Doc      Filed 09/26/14 Entered 09/26/14 18:12:57                                Desc Main
                                                       Document     Page 5 of 7
2. SERVED BY UNITED STATES MAIL:

                                                               KSL Media, Inc.
                                                             2002 SERVICE LIST




 Chapter 7 Trustee                                 United States Trustee                               Debtor
 David K. Gottlieb                                 S Margaux Ross                                      KSL MEDIA INC
 D. Gottlieb & Associates, LLC                     Office of the U.S. Trustee                          15910 Ventura Blvd, 9th Floor
 15233 Ventura Blvd. 9th Floor                     915 Wilshire Blvd., Suite 1850                      Encino, CA 91436-2809
 Sherman Oaks, California, 91403                   Los Angeles, CA 90017


 KSL Media New York, Inc.                          KSL Media New York, Inc.                            TV 10’s, LLC
 Agent for Service of Process                      Agent for Service of Process                        Agent for Service of Process
 Kalman Liebowitz                                  Kalman Liebowitz                                    Ronald R. Camhi
 387 Park Avenue South, 4th Fl                     4703 Sunny Hill Street                              Michelman & Robinson, LLP
 New York, New York, 10016-8810                    Thousand Oaks, CA 91362                             15760 Ventura Blvd., 5th Floor
                                                                                                       Encino, CA 91436

 Fulcrum, Inc.                                     KSL Media, Inc.                                     Request for Special Notice/
 Agent for Service of Process                      Agent for Service of Process                        Court’s Non-NEF List
 Delaware Corporation Organizers, Inc.             Corporation Service Company
 1201 North Market St Fl 18                        2711 Centerville Rd, Ste 400
 P.O. Box 1347                                     Wilmington, DE 19808
 Wilmington, DE 19801

 WM Barr                                           Classified Ventures LLC                             Attys for Robert Brill
 6750 Lenox Center Court, Suite 200                175 West Jackson Blvd., Suite 800                   Sacha V. Emanuel
 Memphis, TN 38115                                 Chicago, IL 60604                                   10250 Constellation Blvd., Suite 2320
                                                                                                       Los Angeles, CA 90067



 Gawker Tech LLC                                   Nexstar Broadcasting Inc.                           Candace Schiffman
 210 Elizabeth St 4th FL                           545 E. John Carpenter Frwy., #700                   3010 Briarpark Dr
 New York, NY 10012                                Irving, TX 75062                                    PWC 08.8206
                                                                                                       Houston, TX 77042



 Attys for First Tennessee Bank                    Douglas Emmett, Inc.,                               TeleBrands Corp.
 E. Franklin Childress, Jr., Esq.                  Leland O. Smith                                     Lowenstein Sandler LLP/ Kenneth A.
 Baker, Donelson                                   SVP, General Counsel                                Rosen, Esq./Jeffrey D. Prol, Esq./Eric H.
 165 Madison Avenue, Suite 2000                    808 Wilshire Blvd., Suite 200                       Horn, Esq.
 Memphis, TN 38103                                 Santa Monica, CA 90404                              65 Livingston Avenue
                                                                                                       Roseland, NJ 07068

 MacDonald Media                                   MacDonald Media                                     MacDonald Media
 Laurence Beckler, PLLC                            Kirkpatrick Townsend & Stockton LLP                 Kirkpatrick Townsend & Stockton LLP
 Laurence Beckler, Esq.                            Emil W. Herich, Esq.                                Todd C. Meyers, Esq.
 575 Madison Ave. Suite 1006                       9720 Wilshire Blvd., Penthouse Suite                Shane G. Ramsey, Esq.
 New York, NY 10022-2511                           Beverly Hills, CA 90212-2021                        1100 Peachtree Street, Suite 2800
                                                                                                       Atlanta, GA 30309

 KCBS TV                                           Attys for Deckers Outdoor Corporation               Paul Huygens
 POB 100729                                        Paul R. Glassman                                    Province
 Pasadena, CA 91189-0729                           Marianne S. Mortimer                                5915 Edmond Street, Suite 102
                                                   Stradling Yocca Carlson & Rauth                     Las Vegas, NV 89118
                                                   100 Wilshire Blvd., 4th Floor
                                                   Santa Monica, CA 90401

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      Case 1:16-bk-12255-GM                    Doc      Filed 09/26/14 Entered 09/26/14 18:12:57                                Desc Main
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 Benjamin S. Seigel
 Buchalter Nemer
 1000 Wilshire Boulevard, Ste 1500
 Los Angeles, CA 90017




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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      Case 1:16-bk-12255-GM                    Doc      Filed 09/26/14 Entered 09/26/14 18:12:57                                Desc Main
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                                                                 KSL Media
                                                        Objection to Amended Claims
                                                                   (280683)
                                                                Service List



                                                   Black Entertainment Television LLC                  CHATTANOOGA TIMES FREE PRESS
                                                   Attn Damien Alexander                               400 E 11TH ST
                                                   1235 W St NE                                        CHATTANOOGA, TN 37403
                                                   Washington, DC 20018



 Entercom Communications Corp. (and                Google Inc.                                         Guitar Center Inc
 its subsidiaries)                                 C/O WHITE AND WILLIAMS LLP                          Attn Ellen S Rosenberg
 Attn: Carmela Masi                                ATT STEVEN E OSTROW ESQ                             5795 Lindero Canyon Road
 401 City Ave., Suite 809                          1800 One Liberty Pl                                 Westlake Village, CA 91362
 Bala Cynwyd,, PA 19004                            Philadelphia, PA 19103


 HEARST DIGITAL MEDIA                              HEARST DIGITAL MEDIA                                KABC - TV Los Angeles
 HEARST SERVICE CENTER                             HEARST SERVICE CENTER                               The Walt Disney Company
 ATTN: D COOKE                                     ATTN: D COOKE                                       Attn Kathy Clark
 214 N TRYON ST, 33RD FLR                          214 N TRYON ST, 33RD FLR                            500 S Buena Vista Street
 CHARLOTTE, NC 28202                               CHARLOTTE, NC 28202                                 Burbank, CA 91521-9750


 METRO CORP D/B/A/ METROCORP                       MTV Networks a division of Viacom Int’l             TRC MASTER FUND LLC
 1818 MARKET ST 36TH FL                            Inc formerly MTV Networks                           Attn: Terrel Ross
 Philadelphia, PA 19103                            Ross Weston C/O James O’Donnell                     PO Box 633
                                                   1540 Broadway 29th FL (29-203)                      Woodmere, NY 11598
                                                   New York, NY 10036


 Valassis                                          Viacom Media Networks                               VIACOM MEDIA NETWORKS
 Attn: Cynthia Rose                                C/O Ross Westor / Andrew Bua                        ROSS WESTON C/O ANDREW BUA
 233 Great Pond Drive                              1540 Broadway 29th FL 29-212B                       1540 Broadway 29th FL (29-212B)
 Windsor, CT 06095                                 New York, NY 10038                                  New York, NY 10036



 Wilson Media Group Inc
 C/O Tom Wilson
 2432 Glager Ave
 Key West, FL 33040




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